          Case 1:20-cv-11253-RWZ Document 78 Filed 02/14/22 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



PARTS iD, LLC, a New Jersey limited liability
company,
Plaintiff,
                                                          Civil Action No. 20-cv-11253-RWZ
    v.

IDPARTS LLC, a Massachusetts limited liability
company,
Defendant.




                             JOINT MOTION FOR EXTENSION OF TIME

         Plaintiff/Counterclaim Defendant PARTS iD, LLC and Defendant/Counterclaim Plaintiff

IDParts LLC, through counsel, jointly agree and stipulate to the extensions of certain deadlines

to permit the parties to complete party depositions in advance of discovery deadlines. In view of

the upcoming discovery deadlines, the parties jointly request that the Court modify the schedule

through and including the following dates:

                                       Current Deadline
              Event                                                     Proposed Deadline
                                         (Dkt. No. 28)

 Completion of Discovery
                                       February 24, 2022                  April 15, 2022
 Deadline

 Deadline for Daubert
 Motions and Dispositive               February 24, 2022                   May 13, 2022
 Motions

 Responses                               March 17, 2022                    June 3, 2022

 Reply                                   March 28, 2022                    June 17, 2022

                                          May 4, 2022                 July 27, 2022, or at the
 Final Pretrial Conference
                                                                       Court’s convenience
         Case 1:20-cv-11253-RWZ Document 78 Filed 02/14/22 Page 2 of 4




                                        TBA at Final Pretrial             TBA at Final Pretrial
 Trial Date and Length
                                           Conference                        Conference


       The parties filed a Joint Stipulated Motion for an Extension of Time on September 24,

2021 (Dkt. 71) and the Court granted the request on September 30, 2021 (Dkt. 73). Since then,

the parties have continued to work diligently to complete remaining discovery, but have not yet

completed necessary fact and expert depositions. However, counsel for the parties are actively

working to find mutually agreeable dates for the remaining depositions. The parties have further

agreed that given the potential impact of the information received from the depositions on

material aspects of this case, additional time is needed for the subsequent motion deadlines.

       With regard to the depositions, the parties’ ability to proceed with scheduling depositions

for two fact witnesses, namely Steven Royzenshteyn and Roman Gerashenko, is currently

outside their control. Messrs. Royzenshteyn and Gerashenko are the founders of plaintiff PARTS

iD LLC and PARTS iD identified them in its Initial Disclosures as individuals likely to have

discoverable information that PARTS iD may use to support its claims. However, Messrs.

Royzenshteyn and Gerashenko are no longer employed by PARTS iD. Messrs. Royzenshteyn

and Gerashenko individually moved to quash IDParts’ subpoenas in the U.S. District Court for

the District of New Jersey and the parties are waiting for that court to issue a decision on the

motion. See PARTS ID, LLC v. IDPARTS, LLC, D.N.J. Case No. 3:21-cv-19229-ZNG-LHG.

       Although the parties remain hopeful that the depositions of fact witnesses can be

completed promptly, in the event that a ruling on the pending Motion to Quash Subpoenas is not

issued with enough time to schedule the depositions before April 15, 2022, IDParts reserves its

right to seek additional relief from this Court to allow it to take the depositions of Messrs.


                                                  2
         Case 1:20-cv-11253-RWZ Document 78 Filed 02/14/22 Page 3 of 4




Royzenshteyn and Gerashenko and to attend to any additional discovery that may arise as a

result of information gained through these depositions.

       The parties therefore respectfully request that the Court enter the proposed order lodged

herewith extending all scheduling deadlines.



  Respectfully submitted,



  /s/ John Strand                                   /s/ Aaron P. Bradford
  John Strand (BBO #654985)                         Aaron P. Bradford, Pro Hac Vice
  jstrand@wolfgreenfield.com                        1560 Broadway, Suite 1200
  Tonia A. Sayour, Pro Hac Vice                     Denver, CO 80202
  tonia.sayour@wolfgreenfield.com                   (303) 325-5467
  WOLF, GREENFIELD & SACKS, P.C.                    abradford@sheridanross.com
  600 Atlantic Avenue
  Boston, MA 02210                                  Daniel J. Cloherty (BBO #565772)
  617.646.8000 Phone                                Christian G. Kiely (BBO #684308)
  617.646.8646 Fax                                  TODD & WELD LLP
                                                    One Federal Street, 27th Floor
                                                    Boston, MA 02110
  Counsel for IDParts LLC                           (617) 720-2626
                                                    dcloherty@toddweld.com
                                                    ckiely@toddweld.com

                                                    Counsel for PARTS iD, LLC

  Dated: February 14, 2022




                                                3
         Case 1:20-cv-11253-RWZ Document 78 Filed 02/14/22 Page 4 of 4




                                CERTIFICATE OF SERVICE
        I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.


                                                     /s/ John Strand
                                                     John Strand




                                                4
